     Case 4:19-cv-07123-PJH       Document 406-1   Filed 10/02/24    Page 1 of 5




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17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                     OAKLAND DIVISION
20
                                        )
21    WHATSAPP LLC and                  )          Case No. 4:19-cv-07123-PJH
      META PLATFORMS, INC., a Delaware  )
22    corporation,                      )          DECLARATION OF MICAH G. BLOCK
                                        )          IN SUPPORT OF PLAINTIFFS’
23                    Plaintiffs,       )          MOTION FOR SANCTIONS
24                                      )
             v.                         )           Date: November 7, 2024
25                                      )           Time: 1:30 PM
      NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
26    and Q CYBER TECHNOLOGIES LIMITED, )           Judge: Hon. Phyllis J. Hamilton
                                        )           Action Filed: October 29, 2019
27                    Defendants.       )
28                                      )
                                     [REDACTED VERSION]
      Case 4:19-cv-07123-PJH           Document 406-1         Filed 10/02/24       Page 2 of 5




 1           I, Micah G. Block, declare as follows:
 2           1.     I am an attorney licensed to practice law in the state of California. I am a partner at
 3   Davis Polk & Wardwell LLP, counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc.
 4   (“Plaintiffs”) in the above-captioned matter. I submit this declaration in support of Plaintiffs’ Motion
 5   for Sanctions. I am personally familiar with the legal proceedings in this matter and make this
 6   declaration from my own personal knowledge, and I could and would competently testify to the
 7   following if called upon to do so.
 8           2.     On March 7, 2023, Plaintiffs served their First Set of Requests for Admission to
 9   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (“NSO”). NSO
10   served its Responses and Objections to Plaintiffs’ First Set of Requests for Admission on April 17,
11   2023.   Attached hereto as Exhibit A is a true and correct copy of Defendants NSO Group
12   Technologies Limited and Q Cyber Technologies Limited’s Responses and Objections to Plaintiffs
13   WhatsApp, Inc. and Meta Platforms, Inc. fka Facebook, Inc.’s First Set of Requests for Admission,
14   dated April 17, 2023.
15           3.     On February 15, 2024, this Court held a hearing on a number of pending discovery
16   and scheduling motions. Attached hereto as Exhibit B is a true and correct copy of the transcript for
17   the February 15, 2024 hearing.
18           4.     After becoming aware that a publicly available website published documents
19                                 , counsel for Plaintiffs sent a letter to counsel for NSO on July 2, 2024,
20   which asked for NSO’s position on the published documents by July 9, 2024. Attached hereto as
21   Exhibit C is a true and correct copy of the July 2, 2024 letter.
22           5.     NSO sent a response to the July 2, 2024 letter on July 12, 2024. Attached hereto as
23   Exhibit D is a true and correct copy of the July 12, 2024 letter.
24           6.     NSO sent a further response to the July 2, 2024 letter on July 26, 2024. Attached
25   hereto as Exhibit E is a true and correct copy of the July 26, 2024 letter.
26           7.     Counsel for Plaintiffs sent another letter to NSO on August 2, 2024, asking NSO to
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR SANCTIONS
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH          Document 406-1         Filed 10/02/24      Page 3 of 5




 1                                              Attached hereto as Exhibit F is a true and correct copy of
 2   the August 2, 2024 letter.
 3          8.      NSO sent a response to the August 2, 2024 letter on August 15, 2024. In that letter,
 4   NSO stated,
 5                                                                        Attached hereto as Exhibit G is a
 6   true and correct copy of the August 15, 2024 letter.
 7          9.      As of October 1, 2024, Plaintiffs have not received from NSO any explanation
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10          10.     As of August 1, 2024, NSO had produced just 17 of their own documents. In late
11   August, NSO produced approximately 4,520 additional documents. Between September 3, 2024 and
12   September 13, 2024, NSO produced another approximately 331 documents.
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15          11.     On August 23, 2024, Roy Blecher, NSO’s outside counsel in Israel, sent a letter to
16   Ronald Lehmann, Plaintiffs’ outside counsel in Israel, via email.
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25          12.     That same day, counsel for Plaintiffs sought to confer with counsel for NSO regarding
26   the correspondence sent to Plaintiffs’ outside counsel in Israel. Plaintiffs followed up later that day,
27   seeking to confer with counsel for NSO. Counsel for NSO did not respond.
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     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH           Document 406-1         Filed 10/02/24      Page 4 of 5




 1          13.     On August 26, 2024, counsel for Plaintiffs sent a letter to counsel for NSO regarding
 2   NSO’s document production in Israel. Attached hereto as Exhibit I is a true and correct copy of the
 3   August 26, 2024 letter.
 4          14.     On September 4, 2024, counsel for NSO sent a letter to counsel for Plaintiffs regarding
 5   NSO’s document production in Israel. In that letter, counsel for NSO stated
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 9                                                                                        Attached hereto as
10   Exhibit J is a true and correct copy of the September 4, 2024 letter.
11          15.     On September 12, 2024, counsel for Plaintiffs sent counsel for NSO a letter
12   responding to the September 4, 2024 letter and outlining deficiencies in NSO’s discovery conduct—
13   with respect to both documents and deposition testimony—and detailing ways in which NSO has
14   violated the Court’s orders throughout the discovery period. Plaintiffs asked for NSO to cure their
15   production deficiencies by September 13, 2024, which was the date that fact discovery was scheduled
16   to close, other than for depositions that the Court permitted after that date. Attached hereto as Exhibit
17   K is a true and correct copy of the September 12, 2024 letter.
18          16.     On September 20, 2024, counsel for NSO sent counsel for Plaintiffs a response to
19   Plaintiffs’ September 12, 2024 letter. That letter responded to certain, but not all, issues identified
20   in the Plaintiffs’ September 12, 2024 letter. Attached hereto as Exhibit L is a true and correct copy
21   of the September 20, 2024 letter.
22          17.     On September 23, 2024, counsel for Plaintiffs requested to confer with counsel for
23   NSO regarding the topics in NSO’s September 20, 2024 letter. Counsel for NSO responded, “I’m
24   afraid we’re not able to confer on this today.” After counsel for Plaintiffs asked whether counsel for
25   NSO could confer the following day, counsel for NSO responded, “Unless the court grants your
26   administrative motion, the filing of any discovery motions is untimely, and therefore conferring about
27   discovery disputes would be a poor use of both sides’ resources.” Attached hereto as Exhibit M is a
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR SANCTIONS
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH          Document 406-1        Filed 10/02/24       Page 5 of 5




 1   true and correct copy of the email correspondence between counsel on September 23 and September
 2   24, 2024.
 3          18.     On September 27, 2024, the Court granted Plaintiffs’ motion to enlarge time and
 4   extended the deadline for both parties to file discovery-related motions to October 2, 2024. See Dkt.
 5   No. 394.
 6          19.     On September 30, 2024, the parties met and conferred regarding the contents of
 7   Plaintiffs’ September 12, 2024 letter and NSO’s September 20, 2024 letter. During this conference,
 8   NSO took the position that
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11                                                                                  NSO maintained that it
12   was otherwise compliant with the Court’s discovery Orders.
13          20.     Attached hereto as Exhibit N is a true and correct excerpt of the deposition transcript
14   of Tamir Gazneli, taken in this case on September 4, 2024.
15          21.     Attached hereto as Exhibit O is a true and correct excerpt of the deposition transcript
16   of Ramon Eshkar, taken in this case on August 27, 2024.
17          22.     Attached hereto as Exhibit P is a true and correct excerpt of the deposition transcript
18   of Yaron Shohat, taken in this case on August 29, 2024.
19          23.     Attached hereto as Exhibit Q is a true and correct excerpt of the deposition transcript
20   of Sarit Bizinsky Gil, taken in this case on September 6, 2024.
21          I declare under penalty of perjury that the foregoing is true and correct.
22          Executed on 2nd of October, 2024, in Menlo Park, California.
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24                                                      /s/ Micah G. Block
                                                        Micah G. Block
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR SANCTIONS
     CASE NO. 4:19-CV-07123-PJH
